Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 1 of 15 Page ID #:1112

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 21-00768 JVS (KESx)                                   Date   October 7, 2021
 Title             Jane Doe et al. v. Reddit, Inc.


 Present: The Honorable              James V. Selna, U.S. District Court Judge
                       Deborah Lewman                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion to Dismiss

       Defendant Reddit, Inc. (“Reddit”) filed a motion to dismiss the complaint of
Plaintiffs Jane Does Nos. 1-6 and John Does Nos. 2, 3, and 5 (collectively —
“Plaintiffs”). Mot., Dkt. No. 40. Plaintiffs filed an opposition. Opp’n, ECF No. 43. Reddit
responded. Reply, ECF No. 44.

       Plaintiffs filed a request for a hearing. Request, Dkt. No. 55. Reddit opposed the
request for hearing. Dkt. No. 57. The Court finds that oral argument would not be helpful
in this matter.

         For the following reasons, the Court GRANTS the motion.

                                                    I. BACKGROUND

       This is a class action lawsuit that arises from the posting on Reddit’s website
sexually explicit videos and images of individuals under the age of 18 — commonly
referred to as child sexual exploitation material (“CSEM”). First Amended Complaint
(“FAC”), ECF No. 31, ¶ 1. Before addressing Plaintiffs’ claims, the Court briefly reviews
how Reddit is structured.

       Reddit is one of the Internet’s most popular websites and is built around users
submitting links, pictures, and text that everyone can view and vote on. Id. ¶¶ 36-37.
Reddit is organized into what are called “Subreddits,” which are online bulletin boards
that are focused on particular themes or interests. Id. ¶ 38. Subreddits are governed as
follows. Reddit allows users to create Subreddits. Id. ¶ 44. Each Subreddit is managed by
a small group of users, who are given the title of “moderator.” Moderators can dictate
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                              Page 1 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 2 of 15 Page ID #:1113

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                           Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

what type of content is allowed on the Subreddit, subject to certain overall limitations
placed by Reddit. Id.

       Reddit itself has four teams of employees that engage in content moderation for the
company. Id. ¶¶ 44-47. “Administrators” have the power to strip moderators of their
privileges and ban Subreddits or particular content from Reddit. Id. ¶ 44. Administrators
are primarily supposed to identify and remove content that violates Reddit’s Content
Policy, whether on Subreddits or in private messages between users. Id. ¶ 44. The Trust
& Safety Team focuses on enforcing Reddit’s Content Policy against malicious users and
when content violations may have urgent legal or safety implications. Id. ¶ 45. The Anti-
Evil internal security team consists of back-end engineers who create automated software
that flags content that violates Reddit’s policies. Id. ¶ 46. Finally, the Legal Operations
Team removes or disables content that it finds to be in violation of the Digital
Millennium Copyright Act. Id. ¶ 47.

       Jane Doe No. 1 is an individual who is now of the age of majority under United
States and California law. Id. ¶ 8. An ex-boyfriend of Jane Doe No. 1 posted sexually
explicit images and videos of Jane Doe No. 1 from when she was 16 years old on
websites, including Reddit, without her consent. Id. ¶¶ 143-46. Each time that Jane Doe
No. 1 reported the CSEM of herself to Subreddit moderators, it would take days for the
CSEM to come down, only for it to reappear within minutes. Id. ¶¶ 148-49. When she
had her ex-boyfriend’s account banned, he was able to make a new account and post the
CSEM anew. Id. ¶ 151.

      Jane Does Nos. 2-6 and John Does Nos. 2, 3, and 5 are the parents of daughters
who are below the age of majority under United States and California law. Id. ¶¶ 9-13.
Each of their daughters has had CSEM images or videos of them posted on Reddit and
have had to repeatedly request that various Subreddit moderators and Reddit
administrators remove the CSEM, often only to have the CSEM reappear shortly after it
is removed. Id. ¶¶ 156-229.

        Plaintiffs allege that Reddit knowingly facilitates the posting of CSEM and
benefits from the CSEM in the form of increased advertising revenue and subscription
fees by premium Reddit users. Id. ¶¶ 61-65, 75, 119. Plaintiffs allege that Reddit
facilitates the posting of CSEM to achieve these benefits in a variety of ways, including
(1) allowing the creation of a number of Subreddits that target users seeking CSEM, id. ¶
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                      Page 2 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 3 of 15 Page ID #:1114

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                           Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

94; (2) rarely removing CSEM when it is reported by users, id. ¶ 82; (3) failure to verify
users’ age, id. ¶ 51; (4) reliance on poorly trained, volunteer moderators to manage
Subreddits, id. ¶¶ 106-07, 110; (5) having ineffective and inefficient administrators
managing content moderation for Reddit, id. ¶¶ 108-09, 112; (6) failing to take steps to
prevent banned users from creating new user accounts on the website, id. ¶¶ 113-14; (7)
failing to report all CSEM to the National Council for Missing and Exploited Children
(“NCMEC”), id. ¶ 124; and (8) failing to use PhotoDNA, an automated means of
identifying images of CSEM previously identified to NCMEC, until 2019, and at that
point only using PhotoDNA minimally, id. ¶¶ 122-124.

      Plaintiffs bring this lawsuit on behalf of one class and two subclasses. The Class is
defined as:

                 all persons who were under the age of 18 when they appeared in
                 a sexually explicit video or image that has been uploaded or
                 otherwise made available for viewing on any website owned or
                 operated by Reddit, Inc. in the last ten years.

Id. ¶ 239. Jane Doe No. 1 seeks to represent the following California subclass:

                 all persons residing in California who were under the age of 18
                 when they appeared in a sexually explicit video or image that
                 has been uploaded or otherwise made available for viewing on
                 any website owned or operated by Reddit, Inc. in the last ten
                 years.

Id. ¶ 240. The remaining Plaintiffs seek to represent the following New Jersey subclass:

                 all persons residing in New Jersey who were under the age of
                 18 when they appeared in a sexually explicit video or image
                 that has been uploaded or otherwise made available for viewing
                 on any website owned or operated by Reddit, Inc. in the last ten
                 years.

Id. ¶ 241.

CV-90 (06/04)                            CIVIL MINUTES - GENERAL                      Page 3 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 4 of 15 Page ID #:1115

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                           Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

       Plaintiffs filed their Complaint on April 22, 2021. See generally Complaint, ECF
No. 1. Following the filing of the instant motion and a motion to stay discovery, Plaintiffs
filed the FAC. See generally FAC. Plaintiffs now bring nine claims for relief: (1)
violation of the federal Trafficking Victims Protection Act, 18 U.S.C. §§ 1591, 1595; (2)
violation of the duty to report child sexual abuse material under 18 U.S.C. § 2258A; (3)
receipt and distribution of child pornography in violation of 18 U.S.C. § 2252A; (4)
distribution of private sexually explicit materials in violation of Cal. Civ. Code §
1708.85; (5) violation of California’s Unfair Competition Law (“UCL”), Cal. Bus. &
Prof. Code § 17200; (6) violation of California’s Trafficking Victims Protection Act, Cal.
Civ. Code § 52.5; (7) violation of New Jersey’s child exploitation laws, N.J. Rev. Stat. §
2A:30B-3; (8) unjust enrichment; and (9) intentional infliction of emotional distress. FAC
¶¶ 248-98. Of these claims, the three claims for violation of California law are brought on
behalf of the California subclass while the claim for violation of New Jersey law is
brought on behalf of the New Jersey subclass. Id. ¶¶ 273-89.

      Reddit moved to stay discovery pending resolution of this motion. Stay Mot., ECF
No. 25. The Court granted that motion. Order, ECF No. 35.

                                       II. LEGAL STANDARD

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim
upon which relief can be granted. A plaintiff must state “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the court to draw
the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft
v. Iqbal, 556 U.S. 662, 678 (2009).

       In resolving a 12(b)(6) motion under Twombly, the Court must follow a two-
pronged approach. First, the Court must accept all well-pleaded factual allegations as
true, but “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Nor must the Court
“‘accept as true a legal conclusion couched as a factual allegation.’” Id. at 678-80
(quoting Twombly, 550 U.S. at 555). Second, assuming the veracity of well-pleaded
factual allegations, the Court must “determine whether they plausibly give rise to an
entitlement to relief.” Id. at 679. This determination is context-specific, requiring the
Court to draw on its experience and common sense, but there is no plausibility “where the
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                       Page 4 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 5 of 15 Page ID #:1116

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                                  Date    October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

well-pleaded facts do not permit the court to infer more than the mere possibility of
misconduct.” Id.

                                           III. DISCUSSION

         A.      Section 230 Generally

        Reddit’s primary argument is that dismissal is appropriate because Plaintiffs’
claims are barred by Section 230 of the Communications Decency Act, 47 U.S.C. § 230.
See Mot. at 5-18. Under § 230(c)(1), “[n]o provider . . . of an interactive computer
service shall be treated as the publisher or speaker of any information provided by
another information content provider.” In other words, “Section 230(c)(1) precludes
liability for (1) a provider or user of an interactive computer service (2) whom a plaintiff
seeks to treat as a publisher or speaker (3) of information provided by another
information content provider.” Gonzalez v. Google LLC, 2 F.4th 871, 891 (9th Cir. 2021)
(internal quotation marks omitted).

       The Court concludes that § 230 immunizes Reddit from many of Plaintiffs’
claims.1 First, Reddit is a provider of an interactive computer service. Under § 230(f)(2),
an “interactive computer service” is defined as “any information service, system, or
access software provider that provides or enables computer access by multiple users to a
computer server . . . .” Reddit provides a system that enables computer access by multiple
users to a server. See also Hepp v. Facebook, Inc., 465 F. Supp. 3d 491, 498 (E.D. Pa.
2020) (finding that Reddit “falls squarely within” the definition of interactive computer
service).

       Plaintiffs argue that “the complaint alleges Reddit is responsible in whole or in
part, for the creation or development of information.” Opp’n at 18. As a consequence,

         1
          Plaintiffs argue that the Court should not consider whether § 230 bars Plaintiffs’ claims because
§ 230 provides an affirmative defense to claims. Opp’n at 18 n.9 (citing Gonzalez, 2 F.4th at 889;
Lusnak v. Bank of America, N.A., 883 F.3d 1185, 1194 n.6 (9th Cir. 2018)). But the Ninth Circuit has
held that § 230 can be considered on a motion to dismiss where “the allegations in the complaint suffice
to establish the defense.” Gonzalez, 2 F.4th at 890 n.8. The Court concludes that such is the case here.
The Court does agree with Plaintiffs that if the complaint does contain sufficient factual allegations
suggesting that Reddit is not immune under § 230, then the Court cannot dismiss the claims on that
basis. See Opp’n at 18 n.10. But this is not the case here.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                 Page 5 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 6 of 15 Page ID #:1117

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                                 Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

Plaintiffs contend that Reddit is an “information content provider” and not an “interactive
computer service.” Under 47 U.S.C. § 230(f)(3) an “information content provider” is
“any person or entity that is responsible, in whole or in part, for the creation or
development of information provided through the Internet or any other interactive
computer service.” Under Fair Housing Council of San Fernando Valley v.
Roommates.com, LLC, 521 F.3d 1157, 1167-68 (9th Cir. 2008), a website is classified as
an information content provider if it “materially contributes to [the information’s]
unlawfulness.” Cases applying this test “have consistently drawn the line at the ‘crucial
distinction between, on the one hand, taking actions (traditional to publishers) that are
necessary to the display of unwelcome and actionable content and, on the other hand,
responsibility for what makes the displayed content illegal or actionable.’” Kimzey v.
Yelp! Inc., 836 F.3d 1263, 1269 n.4 (9th Cir. 2016) (quoting Jones v. Dirty World
Entertainment Recordings LLC, 755 F.3d 398, 413–14 (6th Cir. 2014)) (citing Nemet
Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 257–58 (4th Cir. 2009);
Federal Trade Commission v. Accusearch Inc., 570 F.3d 1187, 1197-1201 (10th Cir.
2009)). Thus, “providing neutral tools to carry out what may be unlawful or illicit” is not
sufficient to make an entity an “information content provider.” Fair Housing Council, 521
F.3d at 1169.

       In making their argument, Plaintiffs rely most heavily on M.L. v. craigslist Inc.,
2020 WL 5494903, at *4 (W.D. Wash. Sept. 11, 2020). See Opp’n at 19. In that case, the
court held that craigslist was an information content provider with respect to sex
trafficking advertisements posted to its website. M.L., 2020 WL 5494903 at *3-4. The
court so held because (1) trafficking advertisements were posted on craigslist’s website
while complying with its rules and guidelines, (2) traffickers paid craigslist to display
trafficking advertisements in the “erotic services” section of the website, and (3)
traffickers were able to evade law enforcement by making use of craigslist’s anonymous
communications system. Id. at *3. These allegations collectively described “specific,
concrete actions taken by craigslist that facilitated [the plaintiff’s] trafficking.”2 Id.


         2
        Reddit attempts to characterize M.L. as holding that a website provider can only become an
information content provider if the “website was designed” to take the illegal action. Reply at 3
(emphasis in original). But the M.L. court does not use the word “designed” in reaching its conclusion.
See generally 2020 WL 5494903. Also, as noted previously, the test in the Ninth Circuit is whether the
website provider being “responsib[le] for what makes the displayed content illegal or actionable.”
Kimzey, 836 F.3d at 1269 n.4. The Court will look to this test.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                Page 6 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 7 of 15 Page ID #:1118

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                                 Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

        Here, Plaintiffs contend that the FAC alleges that Reddit is an information content
provider because of Reddit’s (1) “refusal to enforce its policies,” (2) provision of
“karma” awards for subreddits featuring CSEM, (3) pseudonymous, private messaging
system that allows evasion of law enforcement, (4) “elevation” of subreddits involving
CSEM, and (5) use of “barely-trained moderators who failed to enforce its policies and
propagated the spread of” CSEM. Mot. at 19. Before considering this argument, the Court
first elaborates on the exact allegations in the FAC. First, the FAC states that Reddit
“tries to ban as little content as possible” and so provides a reporting tool that includes
“no opportunity for a user to explain to Reddit why the content is child pornography,
[leaving] the user . . . to rely on a Reddit administrator or moderator to decide whether to
remove the content.” FAC ¶¶ 80, 82. Plaintiffs summarize these allegations as showing
Reddit’s “refusal to enforce its policies.” Opp’n at 19. Second, contrary to Plaintiffs’
summary, paragraphs 115 and 116 of the FAC do not include allegations that Reddit took
any actions that “elevated” subreddits where users had posted CSEM. Rather, those
paragraphs allege that those subreddits were often searched for by users and rated highly
in user polls. FAC ¶ 115.

       The Court is not persuaded that these allegations are sufficient for the Court to find
that Reddit is an information content provider. The Court does not believe that the
allegations show that Reddit is responsible for the illegal content on its website. Many
allegations that Plaintiffs point to do not speak to whether Reddit “materially
contributed” to the CSEM because the allegations relate to “neutral tools.” Karma
awards, which are an aggregate metric representing how many user votes a user has
received,3 and pseudonymous, private messaging apply broadly across Reddit and do not
play any special role in the illegality of the CSEM. See Kimzey, 836 F.3d at 1270
(holding that “inputs from third parties [that] reduce[] . . . information into a single,
aggregate metric . . . is best characterized as the kind of ‘neutral tool[ ]’ operating on
‘voluntary inputs’ that we determined did not amount to content development or
creation”);4 Fields v. Twitter, Inc., 217 F. Supp. 3d 1116, 1127-29 (N.D. Cal. 2016)

         3
         Karma “reflects how much a user has contributed to the Reddit community by an approximate
indication of the total votes a user has earned on their submissions (‘post karma’) and comments
(‘comment karma’).” FAC ¶ 41 (citation omitted).
         4
         Plaintiffs’ argument that karma is awarded by Reddit is irrelevant because the amount that
users receive is determined by votes the user receives from other users. Opp’n at 20. While Reddit may
have created a system for awarding karma, this does not change the fact that it is an aggregate metric.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                Page 7 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 8 of 15 Page ID #:1119

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                               Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

(holding that the provider of a direct messaging service is not a publisher and is therefore
immune under § 230). Nor does the Court believe that having a reporting tool without a
comment section amounts to “materially contributing” to users posting CSEM on its
website.

       The remaining issue is whether Reddit’s use of community moderators causes
Reddit to material contribute to users posting CSEM on its website. First, the Court notes
that having community moderators instead of company moderators does not appear to the
Court to have any bearing on whether Reddit is responsible for users posting CSEM on
its website. In theory, a very highly trained set of committed community moderators
could create an effective system for taking down CSEM.

       Plaintiffs’ more promising argument is that Reddit’s community moderators are
poorly trained, and this means Reddit materially contributes to users posting CSEM on its
website. Plaintiffs allege that community moderators are slow, can engage in “seemingly
arbitrary behavior,” can have difficulty communicating with Reddit administrators, and
may be overruled by Reddit when moderators find that content violates Reddit’s Content
Policy. See FAC ¶ 108-12. But the Court notes that these allegations do not appear to be
specific to Reddit’s treatment of CSEM; rather, the complaints about Reddit’s use of
community managers generally relate to handling of content that violates Reddit’s
Content Policy. This is a key distinction with M.L. In that case, the allegations indicated
that craigslist had rules, guidelines, and processes in place for its “erotic services” section
by which traffickers could post advertising on craigslist’s website such that they could
avoid law enforcement. M.L., 2020 WL 5494903 at *3-4. By contrast, here Reddit does
not have a special way of handling CSEM that is particularly permissive relative to other
kinds of content. The allegations against Reddit here are not sufficiently targeted such
that there is “responsibility for what makes the displayed content illegal.” Kimzey, 836
F.3d at 1269 n.4; see F.T.C. v. Accusearch, 570 F.3d 1187, 1199 (10th Cir. 2009)
(holding that “a service provider is ‘responsible’ for the development of offensive content
only if it in some way specifically encourages development of what is offensive about the
content” (emphasis added)).

    Plaintiffs also advance a different theory that community moderators who upload
CSEM are Reddit’s agents. Opp’n at 19-20. But this argument is unavailing. Plaintiffs

All such metrics must be created by an interactive service provider.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                          Page 8 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 9 of 15 Page ID #:1120

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                                  Date    October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

analogize this case to Accusearch, in which “defendant’s knowledge that third-party
‘researchers were obtaining the information through fraud or other illegality’ that was
posted on defendant’s platform indicated its responsibility for developing unlawful
content.” Opp’n at 19 (quoting Accusearch, 570 F.3d at 1199). But here there is no
allegation that Reddit knew that the accused moderators were also posting CSEM. Cf.
Reply at 7. Plaintiffs then compare the case to Mavrix Photographs, LLC v. Livejournal,
Inc., 873 F.3d 1045, 1054 (9th Cir. 2017), in which the Ninth Circuit held that the Court
should consider “common law agency principles” when deciding whether to hold a social
media platform liable for the actions of moderators. Opp’n at 19-20. This case is
inapposite for two reasons. First, Marvix related to copyright law, not Section 230, and
therefore is no directly relevant to the analysis here. See generally Marvix, 873 F.3d
1045. Moreover, in Marvix it was alleged that Marvix gave “explicit and varying levels
of authority to screen posts,” and this made Marvix an agent for purposes of screening
and posting images. Id. at 1054. By contrast, there is no allegation that Reddit gave
authority to the moderators to post CSEM or that they appeared to be agents of Reddit as
they were posting CSEM. See generally FAC. The Court therefore concludes that Reddit
is an information service provider that could be covered by § 230.

       Returning to the remaining requirements for § 230 immunity, it is readily apparent
that several of Plaintiffs’ claims seek to treat Reddit as a publisher or speaker of
information provided by other content providers. Plaintiffs assert a claim for unjust
enrichment because “[b]y permitting users to upload videos and images of Plaintiffs
(and/or their daughters) and the Class and profiting from those videos and images,
Defendant have [sic] become unjustly enriched at the expense of Plaintiffs and the Class .
. ..” FAC ¶ 292. The decision to permit users to upload content to a website is a
quintessential function of a publisher under § 230. See Barnes v. Yahoo!, Inc., 570 F.3d
1096, 1105 (9th Cir. 2009) (“Subsection (c)(1), by itself, shields from liability all
publication decisions, whether to edit, to remove, or to post, with respect to content
generated entirely by third parties.” (emphasis added)).5 Similarly, Plaintiffs’ claim for


         5
         Plaintiffs attempt to distinguish the claim for unjust enrichment relating to advertising revenue
as involving functions unrelated to publishing and therefore exempt from § 230 immunity. Opp’n at 21-
22. The Court is not persuaded. Plaintiffs rely on Gonzalez, 2 F.4th at 897-99. Id. But in that case, the
Ninth Circuit concluded that § 230 did not immunize Google from the allegation that it illegally
provided material support to the terrorist group ISIS by sharing advertising revenue from YouTube with
ISIS. Gonzalez, 2 F.4th at 898. In so holding, the Ninth Circuit noted that the claim “does not depend on
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 9 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 10 of 15 Page ID #:1121

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                                   Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

distribution of private sexually explicit materials stems from users being permitted to
upload the relevant videos and images to Reddit. That claim is therefore barred. The same
analysis holds true for Plaintiffs’ claim for intentional infliction of emotional distress,
which is premised on Reddit “knowingly tolerat[ing]” CSEM on its website. FAC ¶ 295.
See Fair Housing Council, 521 F.3d at 1163 (“Congress sought to immunize the removal
of user-generated content . . ..”). The Court DISMISSES these claims.

         B.      Child Pornography Claims

       Of course, providers of interactive computer services, like Reddit, do still have
obligations for dealing with CSEM. Plaintiffs attempt to sue under the two statutes that
provide the most stringent requirements: 18 U.S.C. §§ 2252A and 2258A. Neither,
however, can form the basis of a claim that can proceed here. Although Plaintiffs assert a
claim against Reddit for failing to report CSEM as required under 18 U.S.C. § 2258A,
there is no private cause of action that allows Plaintiffs to assert that claim. See 18 U.S.C.
§ 2255 (providing causes of action for various violations of criminal CSEM statutes but
not listing § 2258A).

        18 U.S.C. § 2252A makes it illegal to knowingly receive and distribute CSEM. In
contrast to § 2258A, § 2252A does provide a private right of action for individuals who
are aggrieved by another’s knowing receipt and distribution of CSEM. 18 U.S.C. §
2252A(f). But § 230 provides immunity for interactive computer services in civil suits
under § 2252A as well. Notably, § 230(e)(1) states that § 230 “shall not be construed to
impair the enforcement of . . . chapter 110 (relating to sexual exploitation of children) of
title 18 . . ..” Chapter 110 includes § 2252A. But, the Ninth Circuit has held that §
230(e)(1)’s use of the word “enforcement” shows an intent to only exclude criminal
enforcement under that chapter, not civil claims. See Gonzalez, 2 F.4th at 890 (collecting
cases); see also Doe v. Bates, 2006 WL 3813758, at *3-4 (E.D. Tex. Dec. 27, 2006)
(holding that § 230(e)(1) does not provide an exception permitting civil suit under §
2252A). While the Government could prosecute interactive computer services for


the particular content ISIS places on YouTube; this theory is solely directed to Google’s unlawful
payments of money to ISIS.” Id. Here, by contrast, Plaintiffs’ claim for unjust enrichment is the only
one for which the illegality is the receipt of advertising revenue. That claim is inherently premised on
the CSEM appearing near the advertising being improper. The particular content on Reddit therefore
does matter, and Gonzalez is distinguishable.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                 Page 10 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 11 of 15 Page ID #:1122

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                           Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

knowingly distributing CSEM, they cannot be subject to civil suits under these statutes.
The Court therefore DISMISSES the child pornography claims.

         C.      Trafficking Claims

                 1.     Federal Claim

       This brings the Court to the Plaintiffs’ attempt to assert a claim for violation of the
federal sex trafficking laws that are exempted from § 230 immunity. In 2018, Congress
passed the Allow States and Victims to Fight Online Sex Trafficking Act (“FOSTA”),
which added § 230(e)(5). Pub. L. No. 115-164, 132 Stat. 1253. Under § 230(e)(5)(A), §
230 “shall not be construed to impair or limit” “any claim in a civil action brought under
section 1595 of title 18, if the conduct underlying the claim constitutes a violation of
section 1591 of that title.” 47 U.S.C. § 230(e)(5)(A). Under § 1595, “[a]n individual who
is a victim of a violation of this chapter may bring a civil action against . . . whoever
knowingly benefits, financially or by receiving anything of value from participation in a
venture which that person knew or should have known has engaged in an act in violation
of this chapter . . . .” 18 U.S.C. § 1595(a) (emphasis added). Section 1591, in turn, defines
“participation in a venture” as “knowingly assisting, supporting, or facilitating a
violation” of subsection (a)(1).” Id. § 1591(e)(4).

       The parties have substantial disagreement over what is required to state a claim
under Section 1595 that is exempt from § 230 immunity. See Opp’n at 6-18; Reply at 18-
23. The Court agrees with other courts that found that “the most persuasive reading of
section 230(e)(5)(A) is that it provides an exemption from immunity for a section 1595
claim if, but only if, the defendant’s conduct amounts to a violation of section 1591.” J.B.
v. G6 Hospitality, LLC, No. 19-cv-07848-HSG, 2021 WL 4079207 (N.D. Cal. Sept. 8,
2021); see also Doe v. Kik Interactive, Inc., 482 F. Supp. 3d 1242, 1251 (S.D. Fla. 2020);
M.L. v. craigslist Inc., 2020 WL 5494903, at *4. Plaintiffs argue that the statutory
language does not require the defendant to personally violate section 1591, but instead
that the underlying conduct violates section 1591 as opposed to other provisions of
chapter 77 of the criminal code. Request at 2. While other courts have adopted that
reading, see Doe v. Twitter, Inc., No. 21-cv-00485-JCS, 2021 WL 3675207, at *23-*24
(N.D. Cal. Aug. 19, 2021); Doe v. Mindgeek USA Inc., -- F. Supp. 3d --, 2021 WL
4167054, at *4 (C.D. Cal. Sept. 3, 2021), the Court does not find their reasoning
persuasive.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                     Page 11 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 12 of 15 Page ID #:1123

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                           Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

       It is more logical to read the statute as requiring the conduct underlying the claim
against the defendant to be the same as the claim in the civil action brought under section
1595. The legislative history comports with the Court’s reading of the plain text. See J.B.,
2021 WL 4079207, at *7-*11 (reviewing the legislative history and determining that
“Congress reached a compromise by including a narrowed federal civil sex trafficking
carve-out”). Plaintiffs argue for a broad reading of § 230(e)(5) in light of the remedial
nature of the law. Request at 3. That is not enough, however, to overcome the plain
language of the statute, especially given that section 230 as a whole is designed to
provide immunity to interactive computer service providers. See Fair Hous. Council of
San Fernando Valley v. Roommates.Com, 521 F.3d 1157, 1174 (9th Cir. 2008) (“[T]his
is an immunity statute we are expounding, a provision enacted to protect websites against
the evil of liability for failure to remove offensive content.”). In interpreting the statute in
that manner, the Court will apply the “knowingly” standard from section 1591 instead of
the more lenient mens rea standard under section 1595 of “known or should have
known.”

       In the Court’s order granting Reddit’s motion for a stay of discovery pending
resolution of this motion, the Court held that it “does not see any indication from the facts
alleged that Plaintiffs would be able to state a claim under § 1591.” Order at 8. This was
because “courts defining participation under § 1595 have, in the absence of direct
association, required a showing of a continuous business relationship between the
trafficker and the defendant such that it would appear that the trafficker and the defendant
have established a pattern of conduct or could be said to have a tacit agreement.” Id. at 7
(quoting J.B. v. G6 Hospitality, LLC, 2020 WL 4901196, at *9 (N.D. Cal. Aug. 20,
2020)). The Court found that the allegations in the FAC were insufficient to show a
“continuous business relationship.” Id.

       Plaintiffs now point to other allegations that they allege indicate that Reddit
“knowingly fostered a business relationship with sex traffickers to support their
trafficking ventures.” Opp’n at 13-14. But there is no indication that there was a
“business relationship” with such traffickers. It is true that there can be a “tacit
agreement” that gives rise to participation in a venture. But where Reddit is not accused
of having made a business deal with the alleged traffickers – and did not have any



CV-90 (06/04)                            CIVIL MINUTES - GENERAL                       Page 12 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 13 of 15 Page ID #:1124

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                                   Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

monetary relationship with those traffickers – the standard for stating a claim under §
1595 has not be satisfied.6

        The core of the Court’s analysis from the previous order still holds true. Although
Plaintiffs cite to a variety of other paragraphs in the FAC, see Opp’n at 13-14 (collecting
citations), these allegations can be summarized as stating that Reddit has “affiliations
with sex traffickers by enabling the posting of child pornography on its websites” and
“making it easier to connect traffickers with those who want to view child pornography.”
FAC ¶ 255. But this allegation is not sufficient to show “a continuous business
relationship between” Reddit and traffickers. “To conclude otherwise would mean that all
web-based communications platforms have a legal duty to inspect every single
user-generated message before it is communicated to a single person or displayed to the
public, lest such platforms be deemed to have participated in the venture.” J.B., 2020 WL
4901196, at *9. “[T]here is no indication that Congress intended to create such a duty, or
that it would be reasonable in light of the volume of posts generated by third parties
daily.” Id. The Court agrees with the J.B. court and does not see any indication from the
facts alleged that Plaintiffs would be able to state a claim under § 1591.7

       While other courts have recently found allegations sufficient to support a finding
that web-based communication platforms were participating in a venture, those courts
were both applying a different legal standard and considering different facts. See Doe v.
Mindgeek, 2021 WL 4167054, at *5-*6 (Sept. 3, 2021) (finding plaintiffs sufficiently
allege participation in a venture where an employee of the defendant reviewed, approved,
and uploaded a video of a plaintiff); Doe v. Twitter, 2021 WL 3675207, at *23-*24 (N.D.
Cal. Aug. 19, 2021) (finding participation in a venture where employees of defendant
allegedly refused to take down videos of plaintiff after being notified of a police

         6
          Plaintiffs argue that a footnote in J.B. expands the scope of what constitutes participation in a
venture. Opp’n at 13 (citing J.B., 2020 WL 4901196, at *9 n.3). In that footnote, the J.B. court stated
that it “can envision a circumstance, for example, in which a website operator openly and knowingly
makes a deal with sex traffickers to support the venture by posting advertisements featuring trafficked
minors in exchange for a cut of the proceeds,” and thereby participated in a sex trafficking venture. J.B.,
2020 WL 4901196 at *9 n.3. But that footnote discusses a hypothetical and one in which the defendant
received a “cut of the proceeds.” Id. The footnote therefore has no bearing on the Court’s analysis.
         7
       This analysis does not address whether the distribution of CSEM is a form of sex trafficking as
contemplated by § 1591(a)(1), an issue which the Court does not reach.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                 Page 13 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 14 of 15 Page ID #:1125

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                           Date   October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

complaint regarding the images at issue and prior complaints regarding the specific
account at issue posting CSEM); M.L., 2020 WL 5494903, at *5-*6 (finding allegations
sufficient to support knowing participation in venture where it was alleged that craigslist
received advertising fees paid directly by traffickers and developed specific policies
requiring the blurring and cropping of images to obscure age and identity of trafficking
victims). The allegations cited by Plaintiffs are insufficient to support a finding that
Reddit knowingly participated in a venture, as defined by § 1591. See Opp’n at 7 n.2. The
Court DISMISSES Plaintiffs’ federal sex trafficking claim.

                 2.     State Claims

       Reddit argues that the state law trafficking claims are barred by Section 230. Mot.
at 18. The Court previously found that Section 230 did bar these claims. Order at 8-11.
Plaintiffs do not raise any new arguments in response to the Court’s previous holding.
Opp’n at 22 n.12. The Court therefore DISMISSES Plaintiffs’ state law trafficking
claims.

         D.      UCL Claim

         Finally, the Court notes that Plaintiffs cannot assert their remaining UCL claim.
For an individual to assert a UCL claim, the person must have “suffered injury in fact and
. . . lost money or property as a result of the unfair competition.” Cal. Bus. & Prof. Code
§ 17204. But, there is no indication in the FAC that Plaintiffs have lost money or property
as a result of Reddit’s alleged conduct. The Court DISMISSES this claim.

         E.      Leave to Amend

        Plaintiffs seek leave to amend the allegations of their complaint. Opp’n at 25. “A
party may amend its pleading once as a matter of course within: (A) 21 days after serving
it, or (B) if the pleading is one to which a responsive pleading is required, 21 days after
service of a responsive pleading or 21 days after service of a motion under Rule 12(b),
(e), or (f), whichever is earlier.” Fed. R. Civ. P. 15(a)(1). In all other cases, a party may
amend its pleading only with written consent from the opposing party or the court’s
leave, which should be “freely give[n] . . . when justice so requires.” Fed. R. Civ. P.
15(a)(2); see Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir.
1990) (requiring that policy favoring amendment be applied with “extreme liberality”).
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                     Page 14 of 15
Case 8:21-cv-00768-JVS-KES Document 58 Filed 10/07/21 Page 15 of 15 Page ID #:1126

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 21-00768 JVS (KESx)                                        Date     October 7, 2021
 Title          Jane Doe et al. v. Reddit, Inc.

       In the absence of an “apparent or declared reason,” such as undue delay, bad faith,
dilatory motive, repeated failure to cure deficiencies by prior amendments, prejudice to
the opposing party, or futility of amendment, it is an abuse of discretion for a district
court to refuse to grant leave to amend a complaint. Foman v. Davis, 371 U.S. 178, 182
(1962); Moore v. Kayport Package Express, Inc., 885 F.2d 531, 538 (9th Cir. 1989). The
consideration of prejudice to the opposing party “carries the greatest weight.” Eminence
Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). “Although there is a
general rule that parties are allowed to amend their pleadings, it does not extend to cases
in which any amendment would be an exercise in futility, or where the amended
complaint would also be subject to dismissal.” Steckman v. Hart Brewing, 143 F.3d
1293, 1298 (9th Cir. 1998) (internal citations omitted).

       Here, the Court does not find that there was undue delay given that Plaintiffs’
complaint has only been amended once. The Court is not convinced that the action was
filed in bad faith. The Court is not convinced that most amendments would be futile or
that Reddit will be unduly prejudiced. The exception is that the Court has concluded that
there is no legal basis for bringing a claim under 18 U.S.C. § 2258A. Therefore, the Court
GRANTS Plaintiffs thirty-days’ leave to amend its claims, except as to the § 2258A
claim.

                                         IV. CONCLUSION

       For the foregoing reasons, the Court GRANTS the motion. The Court finds that
oral argument would not be helpful in this matter and VACATES the hearing. Fed. R.
Civ. P. 78; L.R. 7-15.

                 IT IS SO ORDERED.
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CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                     Page 15 of 15
